408 U.S. 918
    92 S.Ct. 2476
    33 L.Ed.2d 330
    UNITED STATES, plaintiff,v.State of FLORIDA AND TEXAS.
    No. 54, Original.
    Supreme Court of the United States
    June 26, 1972
    
      1
      The motion to defer consideration is denied. The motion of the State of Texas for the appointment of a Special Master is granted and it is ordered that the Honorable Charles L. Powell, Senior Judge of the United States District Court for the Eastern District of Washington, be, and he is hereby, appointed Special Master in this case. The Special Master shall have authority to fix the time and conditions for filing of additional pleadings and to direct subsequent proceedings, and authority to summon witnesses, issue subpoenas, and take such evidence as may be introduced and such as he may deem it necessary to call for. The Master is directed to submit such reports as he may deem appropriate.
    
    
      2
      The Master shall be allowed his actual expenses, the allowances to him, the compensation paid to his technical, stenographic, and clerical assistants, the cost of printing his reports, and all other proper expenses shall be charged against and be borne by the parties in such proportion as the Court may hereafter direct.
    
    
      3
      It is further ordered that if the position of Special Master becomes vacant during the recess of the Court, the Chief Justice shall have authority to make a new designation which shall have the same effect as if originally made by the Court herein.
    
    